Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 1 of 35 PageID: 434




 KASOWITZ BENSON TORRES LLP
 1633 Broadway
 New York, NY 10019
 Phone: (212) 506-1700
 Fax: (212) 506-1800

 Attorneys for Defendants

 UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF NEW JERSEY
 -----------------------------------------------------x
                                                      :
 LEGAL BAY LLC,                                       :
                                                      :
                              Plaintiff,              : Case No. 2:22-cv-03941-ES-JBC
                                                      :
                  - against -                         : Removed from the Superior Court
                                                      : of the State of New Jersey, Essex
 MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
 SPECIALTY FUNDING I, LLC,                            : Docket No. (ESX-C-000086-22)
 MUSTANG SPECIALTY FUNDING II, :
 LLC, JAMES BELTZ, and KEVIN                          :
 CAVANAUGH,                                           :
                                                      :
                                Defendants.           :
 -----------------------------------------------------x

                  MEMORANDUM OF LAW IN SUPPORT OF
                   DEFENDANTS’ MOTION TO DISMISS
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 2 of 35 PageID: 435




                                           TABLE OF CONTENTS

 PRELIMINARY STATEMENT .............................................................................. 1

 FACTUAL ALLEGATIONS ................................................................................... 4

          A.       Beltz And Cavanaugh Found The Mustang Entities In 2018 .............. 4

          B.       The Mustang Entities Pay Referral Fees To LB .................................. 5

          C.       LB Alleges It Formed A Joint Venture With The Mustang
                   Entities .................................................................................................. 6

          D.       The Parties Execute The Line Of Credit Agreement ........................... 8

          E.       LB Alleges Mustang Has Solicited Business From Its
                   “Exclusive Network” Of Contacts .....................................................10

          F.       Mr. Janish Admits In Emails That LB and Mustang Never
                   Entered Into A Joint Venture Agreement...........................................10

 PROCEDURAL HISTORY....................................................................................11

 LEGAL STANDARDS ..........................................................................................12

          A.       Rule 12(b)(2) ......................................................................................12

          B.       Rule 12(b)(6) ......................................................................................13

          C.       Rule 9(b) .............................................................................................14

 ARGUMENT ..........................................................................................................14

 I.       LB’S COMPLAINT MUST BE DISMISSED BECAUSE THE COURT LACKS
          SPECIFIC AND GENERAL JURISDICTION OVER THE DEFENDANTS ..................14

 II.      COUNTS I-VI MUST BE DISMISSED BECAUSE MR. JANISH ADMITS THAT
          MUSTANG AND LB NEVER FORMED A JOINT VENTURE NOR ENTERED
          INTO A JOINT VENTURE AGREEMENT ............................................................18

 III.     COUNT VI ALSO MUST BE DISMISSED BECAUSE LB FAILS TO
          SUFFICIENTLY PLEAD ITS FRAUDULENT INDUCEMENT CLAIM .......................23

 IV.      MUSTANG HAS NOT BREACHED THE LOCA AS A MATTER OF LAW ...........26

                                                              -i-
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 3 of 35 PageID: 436




 CONCLUSION .......................................................................................................27




                                                         -ii-
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 4 of 35 PageID: 437




                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)

 Cases

 Agbottah v. Orange Lake Country Club,
    2012 WL 2679440 (D.N.J. July 6, 2012) .................................................................................16

 Blystra v. Fiber Tech Grp., Inc.,
    2005 WL 2807361 (D.N.J. Oct. 25, 2005)...............................................................................17

 Boyd v. Tribbett,
    2015 WL 4199288 (D.N.J. July 10, 2015) .........................................................................23, 25

 Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty.,
     137 S. Ct. 1773 (2017) .............................................................................................................13

 Brumfield v. TransUnion, Inc.,
    2020 WL 1083598 (E.D. La. Mar. 6, 2020) ............................................................................15

 In re Burlington Coat Factory Sec. Litig.,
     114 F.3d 1410 (3d Cir. 1997)...................................................................................................20

 Carteret Sav. Bank, FA v. Shushan,
    954 F.2d 141 (3d Cir. 1992).....................................................................................................12

 Chavez v. Dole Food Co.,
    836 F.3d 205 (3d Cir. 2016).....................................................................................................16

 Daimler AG v. Bauman,
    134 S. Ct. 746 (2014) ...............................................................................................................14

 Deshpande v. Taro Pharms. U.S.A., Inc.,
    2010 WL 1957869 (D.N.J. May 13, 2010) ..............................................................................24

 Display Works, LLC v. Bartley,
    182 F. Supp. 3d 166 (D.N.J. 2016) ..........................................................................................15

 Donnelly v. Kole,
    2010 WL 11693272 (D.N.J. July 21, 2010) .............................................................................17

 Frederico v. Home Depot,
    507 F.3d 188 (3d Cir. 2007).........................................................................................14, 23, 24

 George v. Rehiel,
    738 F.3d 562 (3d Cir. 2013).....................................................................................................13



                                                                   -iii-
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 5 of 35 PageID: 438




 Harfouche v. Wehbe,
    950 F. Supp. 2d 766 (D.N.J. 2013) ..........................................................................................12

 Helicopteros Nacionales de Colombia, S.A. v. Hall,
    466 U.S. 408 (1984) .................................................................................................................13

 J.H. Reid Gen. Contractor v. Conmaco/Rector, L.P.,
    2010 WL 398486 (D.N.J. Jan. 27, 2010) ...........................................................................14, 23

 Kenney v. Lofts at Sodo,
    2019 WL 1057365 (D.N.J. Mar. 6, 2019)................................................................................15

 L-7 Designs, Inc. v. Old Navy, LLC,
    647 F.3d 419 (2d Cir. 2011)...............................................................................................21, 22

 Mayer v. Belichick,
   605 F.3d 223 (3d Cir. 2010).....................................................................................................13

 McClung v. 3M Co.,
   2019 WL 4668053 (D.N.J. Sept. 25, 2019) .............................................................................17

 New Jersey Second Amend. Soc’y v. New Jersey Press Ass’n,
    2021 WL 4822050 (D.N.J. Oct. 15, 2021)...............................................................................21

 NN&R, Inc. v. One Beacon Ins. Grp.,
   362 F. Supp. 2d 514 (D.N.J. 2005) ..........................................................................................14

 O’Connor v. Sandy Lane Hotel Co.,
    496 F.3d 312 (3d Cir. 2007).....................................................................................................13

 Quality Int’l Packaging, Ltd. v. Chamilia Inc.,
    2015 WL 4749156 (D.N.J. Aug. 5, 2015) ...............................................................................17

 Siegmeister v. Benford,
     2017 WL 2399573 (D.N.J. June 1, 2017) ..........................................................................16, 18

 UBI Telecom Inc. v. KDDI Am., Inc.,
    2014 WL 2965705 (D.N.J. June 30, 2014) ..................................................................24, 25, 26

 Washington v. Specialized Loan Servicing LLC,
   2018 WL 10900585 (D.N.J. Aug. 27, 2018) ...........................................................................23

 Watterson v. Page,
    987 F.2d 1 (1st Cir. 1993) ........................................................................................................21

 Weichert Co. Realtors v. Ryan,
    128 N.J. 427 (1992) .................................................................................................................22



                                                                   -iv-
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 6 of 35 PageID: 439




 Other Authorities

 Rule 9(b) ............................................................................................................................14, 23, 24

 Rule 12(b)(2) ........................................................................................................................3, 12, 14

 Rule 12(b)(6) ..................................................................................................................................13




                                                                       -v-
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 7 of 35 PageID: 440




                           PRELIMINARY STATEMENT

       This case is a fiction. In a largely incomprehensible Complaint, a failing

 brokerage business claims a non-existent, and wholly oral, “joint venture” agreement

 that is totally contradicted by the parties’ correspondence referenced in the

 Complaint. The Court should dismiss the Complaint in its entirety not only because

 the Court lacks personal jurisdiction over the Defendants, but because it is not

 plausible that there was such an agreement.

       As an initial matter, Plaintiff Legal Bay LLC (“LB”) is not a “provider” of

 litigation funding; by its own admission, it has barely enough capital to fund itself,

 much less anyone else. (ECF 1-1 ¶¶ 112, 117-18.) Rather, it is a litigation-funding

 broker that generates revenue by introducing litigants in search of funding to

 capitalized funders—including Defendants Mustang Funding, LLC, Mustang

 Specialty Funding I, LLC, and Mustang Specialty Funding II, LLC, (collectively,

 “Mustang” or the “Mustang Entities”)—in exchange for a referral fee if the funder

 executes a funding agreement with the referred litigant. Mustang has always (and

 only) dealt with LB in LB’s capacity as a litigation-funding broker, and accordingly

 has paid LB millions of dollars in referral fees over the last several years.1




 1
   This arrangement is not unique. Multiple litigation-funding brokers refer litigants
 to Mustang and are compensated accordingly.
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 8 of 35 PageID: 441




       LB, however, has run out of money and litigants to refer. Out of options, LB

 and its CEO and sole member, Chris Janish, have now concocted sham allegations

 of a joint venture and profit share arrangement in a transparent money grab that

 would provide a windfall for LB and give Mustang nothing in return. LB alleges

 that, on top of the referral fees it has already accepted, LB and Mustang have an oral

 joint venture agreement that entitles LB to 25% of all Mustang’s profits on every

 litigation funding contract Mustang has ever executed, including funding contracts

 with litigants LB did not refer and Mr. Janish has never met.

       Of course, that is not plausible. LB alleges it executed the joint venture

 agreement with Mustang in 2018 and that Mustang started breaching it in 2019, but

 provides no explanation—other than being out of money—for why it waited until

 now to claim that it is owed millions of dollars under some joint venture agreement.

 As noted, Mustang has already paid LB a referral fee for every LB-referred litigant

 that executed a funding agreement with Mustang. LB does not—because it cannot—

 dispute that. Indeed, the falsity of LB’s allegations about an oral joint venture

 agreement and gratuitous profit share is apparent from Mr. Janish’s own emails—

 including an email LB attached to its Complaint and others that are integral to it,

 attached to this Motion, which can properly be considered by the Court. Because

 Mustang’s purported breach of the oral joint venture agreement is a necessary

 predicate to Counts I-VI in LB’s Complaint, Mr. Janish’s admission that Mustang



                                           2
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 9 of 35 PageID: 442




 and LB never entered into any such agreement fatally undermines LB’s first six

 claims.

       LB’s allegations about a purported breach of the Line of Credit Agreement’s

 (“LOCA”) non-solicitation provision are equally ill-fated. The LOCA makes clear

 that the non-solicitation provision Mustang allegedly breached is not applicable until

 60 days after notice of the LOCA’s termination. LB alleges in its May 16, 2022,

 Complaint that it terminated (past tense) the LOCA on May 17, 2022. So, even if

 that termination date made sense and were true (which is not the case2), Mustang

 could not have breached the LOCA based on the allegations in the Complaint

 because the non-solicitation provision it purportedly breached was not even

 breach-able until, at the earliest, five days ago.

       Ultimately, however, the Court need not even address the insufficiency of

 LB’s allegations and deficiency of its claims.       It should instead dismiss the

 Complaint under Rule 12(b)(2) because it lacks personal jurisdiction over all five

 Minnesota-based Defendants in the first place.




 2
  LB purported to terminate the LOCA in a May 18, 2022, email. (See Declaration
 of Christian T. Becker (“Becker Decl.”) ¶ 2, Ex. 1.)


                                            3
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 10 of 35 PageID: 443




                            FACTUAL ALLEGATIONS

       A.     Beltz And Cavanaugh Found The Mustang Entities
              Beginning In 2018

       Mr. Beltz and Mr. Cavanaugh (the “Founders”) are Co-Founders and

 Managing Partners of Mustang Funding, LLC—the litigation finance firm that is the

 sole member of Mustang Specialty Funding I, LLC and Mustang Specialty

 Funding II, LLC. (ECF 1-1 ¶¶ 7-8.) Both Founders are permanent residents of

 Minnesota. (Id.) Organized under the laws of Delaware, all three Mustang Entities

 are headquartered in Minnesota, and all members of the three Mustang Entities (and

 the members of the Mustang Entities’ members) are domiciled in Minnesota.

 (Id. ¶¶ 4-6; see also ECF 9-6, Mayer Decl. ¶¶ 4-8.)

       The Founders formed each of the three Mustang Entities to facilitate

 Mustang’s litigation-funding activities. Those activities generally fall into three

 categories: plaintiff pre-settlement funding, attorney funding, and commercial

 funding. (ECF 1-1 at 70, Ex. C.)

       Mustang’s pre-settlement funding arm provides non-recourse cash advances

 to plaintiffs with active litigation claims to help plaintiffs address immediate

 financial needs while they await settlement. (Id.) These advances account for

 roughly 60% of Mustang’s portfolio. (Id.) Another 20% of Mustang’s portfolio

 comprises non-recourse cash advances it provides to law firms that need access to

 capital for expenses incurred and expected in the course of litigation. (Id.) And the


                                          4
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 11 of 35 PageID: 444




 last 20% of Mustang’s portfolio comprises non-recourse cash advances to businesses

 with active litigation claims to help them reduce litigation-specific risk and fund

 litigation-related strategies. (Id.)

        B.     Mustang Pays Referral Fees To LB

        When the Founders set out to form the Mustang Entities and build Mustang’s

 litigation-funding business in 2018 and 2019, they networked and corresponded with

 a variety of industry participants around the country. (Id. ¶ 30.) Some of these

 communications involved Mr. Janish and LB. (Id. ¶¶ 27, 30.)

        Mr. Beltz met Mr. Janish and learned about LB’s litigation-funding brokerage

 business several years earlier while working for a private equity firm. (Id. ¶¶ 25-

 26.) That firm had occasionally funded litigants referred by LB and paid LB a

 corresponding referral fee, but had since ceased its litigation-funding operations.

 (Id.) This left LB down a capital source to fund its referrals and pay its fees. (Id.)

        At the time of Mustang’s founding, communications between the Founders

 and Mr. Janish concerned whether Mustang would fill that void in the same capacity

 as LB’s previous capital source. (Id. ¶¶ 25-27, 30.) After an associate visited LB’s

 office in Caldwell, New Jersey, to vet its operations (id. ¶ 12)—the sole New Jersey

 connection alleged in the Complaint—the Founders told Mr. Janish that Mustang

 would be willing to evaluate claims held by LB-referred litigants and, at Mustang’s

 sole discretion, fund LB-referred litigants with promising claims and pay LB an



                                            5
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 12 of 35 PageID: 445




 industry-standard referral fee for any such litigants (id. ¶¶ 27, 30). And that is

 precisely (and only) what Mustang has done, executing over 1,680 funding

 contracts3 with, and disbursing over $31 million to, LB-referred litigants.

 (Id. ¶¶ 11, 24.)

       Mustang has always and only ever dealt with LB in LB’s capacity as a broker,

 (id. ¶¶ 11, 24-27, 30), and has compensated LB under a broker-fee structure

 comprising two payments: (i) an “off-contract” payment of 7-9% of the amount

 funded, disbursed upon execution of the funding contract; and (ii) a “carried-

 interest” payment of between 15% and 25% of any amount in excess of the funded

 principal ultimately recovered by Mustang.4 (Id. ¶ 35 n.2.) Notably, LB does not

 allege that Mustang withheld any off-contract payment or carried-interest payment

 owed to LB for any of its successful referrals prior to LB’s filing of the Complaint.

       C.     LB Alleges It Formed A Joint Venture With Mustang

       In addition to the referral fees LB has collected from Mustang, LB alleges in

 its Complaint that it is essentially entitled to a carried-interest payment—i.e., 25%

 of the profits—from every single advance Mustang has ever disbursed. (Id. ¶¶ 35,

 61, 116, 119, 147, 151, 153, 159, 165, 168-169.) This notably includes advances to


 3
  LB alleges that 97 of these funding contracts relate to lawsuits in New Jersey state
 and federal courts. (Id. ¶ 11.)
 4
  Again, this arrangement is not unique. Mustang (and other funders in the industry)
 have similar compensation arrangements with other litigation-funding brokers.


                                           6
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 13 of 35 PageID: 446




 litigants LB did not refer (id.), some of which were referred by different brokers to

 whom Mustang has made or must make the same broker fees described above

 (id. ¶ 97).

        LB alleges that its entitlement to 25% of Mustang’s profits arises out of a

 purported oral joint venture agreement entered into by LB and Mustang, which

 allegedly included the Founders’ promise to pay LB a “twenty-five (25%) (sic) share

 of the [j]oint [v]enture’s net profits.” (Id. ¶ 35.) LB alleges the Founders also

 promised Mustang would “(i) provide substantially increased amounts of financing;

 (ii) not enter the litigation funding business as a broker or originator of litigation

 funding matters; (iii) not do business with LB’s broker, attorney, and surgical

 provider relationships, whether existing prior to or after formation of the joint

 venture; and (iv) not originate or act as a broker for any pre-settlement, litigation,

 attorney, or surgical funding for their own benefit, to the exclusion of LB[.]”

 (Id. ¶ 40.)

        According to LB, the Founders’ “representations that the Mustang

 Entities . . . would not compete for or divert LB’s litigation funding relationships for

 their own benefit was crucial, and material to, LB’s agreement to participate in the

 [j]oint [v]enture.” (Id. ¶ 43.) LB asserts that its “network of broker, attorney and

 surgical providers” are “exclusive,” (id. ¶ 81), and “proprietary to LB,” (id. ¶ 43). It

 contends that the Founders promised all of this because they “knew that there would



                                            7
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 14 of 35 PageID: 447




 be no business without the efforts of LB.” (Id. ¶ 36.) But despite LB’s allegations

 that it considered the Founders’ representations so “material” to its purported joint

 venture with Mustang, and that it made such critical contributions to that alleged

 venture, LB fails to offer any remotely plausible explanation for why it waited four

 years from the joint venture’s purported formation and three years from its alleged

 breach to allege the existence of such an agreement. (Id. ¶¶ 10, 79.)

       D.     The Parties Execute The Line Of Credit Agreement

       Separate from the alleged joint venture, Mustang Specialty Funding I, LLC

 (“Mustang I”), LBV Funding, LLC (“LBV”), and LB executed the LOCA on

 October 9, 2018. (Id. ¶ 1, Ex. A at 8.) LBV is a Nevada limited liability company

 located in Nevada with one member—Dr. Peter Caravella. (Id., Ex. A at 1.) Under

 the LOCA, Mustang I and LBV agreed to provide LB with a line of credit up to

 $250,000 to help LB cover operating expenses. (Id. ¶ 63.) The LOCA stipulated

 that Mustang I and LBV would each provide 50% of any amount of the principal

 drawn by LB. (Id.) LB contends that it has drawn $180,000 under the LOCA,

 $90,000 of which Mustang I contributed. (Id. ¶ 64.)

       The LOCA contains a non-solicitation provision. (Id. at 51-52, Ex. A, § 4.)

 That non-solicitation provision purports to prohibit a wide range of business activity,

 specifically providing that all parties to the LOCA “shall not solicit employ, hire,

 retain, or engage the following individuals or business associations with whom the



                                           8
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 15 of 35 PageID: 448




 Parties had an existing relationship as of the Effective Date of this Agreement . . . .”

 (Id.) Importantly, the non-solicitation provision is effective “[f]or a period of

 one (1) year following the termination of this Agreement for any reason[.]”

 (Id. (emphasis added); see also id. ¶ 195 (“The LOCA provides that upon its

 termination, in part, Defendants shall not solicit . . . individuals or business

 associations with whom Plaintiff had an existing relationship as of the Effective Date

 of the Agreement[.]” (emphasis added)).) The LOCA can be terminated only upon

 either LB repaying the total amount it borrowed, or “sixty (60) days written notice”

 of termination by any party to the agreement. (See id. at 52-53, Ex. A, § 6.) LB has

 not repaid the total amount it has borrowed from Mustang I.5 (Id. ¶ 64.) But on

 May 18, 2022, Mr. Janish sent an email to Mr. Beltz and Dr. Caravella providing

 60-days’ notice of LB’s purported termination of the LOCA. (See Becker Decl. ¶ 2,

 Ex. 1 (“LB notifies LBV Funding, LLC and Mustang Specialty Funding I, LLC that

 LB shall terminate the Agreement Sixty (60) days after the date that this notice is

 sent to each of you by email.”).) Sixty days from May 18, 2022 was July 17, 2022.

 Even if LB’s notice was sufficient to terminate the LOCA, that termination did not

 occur until five days ago.




 5
   According to LB, “[t]he LOCA does not outline when principal payments must be
 made,” and instead suggests that, “principal payments would be drawn from the
 [j]oint [v]enture’s profit share.” (Id.)


                                            9
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 16 of 35 PageID: 449




         E.   LB Alleges Mustang Has Solicited Business From Its
              “Exclusive Network” Of Contacts

         All of LB’s claims arise out of its allegations that Mustang has

 “misappropriate[d] LB’s litigation funding relationships with brokers, attorneys, and

 surgical providers, and divert[ed] business opportunities from the [j]oint [v]enture.”

 (ECF 1-1 ¶ 103; see also id. ¶¶ 1, 12-13, 53, 80-81, 91, 95, 97, 101, 112, 114, 131,

 142, 147, 151, 153, 158, 169, 172-173, 176, 182-185, 187, 195-196.) LB asserts that

 “[u]nder the direction of Messrs. Beltz and Cavanaugh, the Mustang Entities and

 Affiliates actively solicit litigation funding matters from LB’s exclusive of (sic)

 network of brokers (including sub-brokers), attorneys, and surgical providers by

 contacting each of them – directly, through emails and telephone calls . . . or,

 indirectly through blast emails . . . .” (Id. ¶ 81.) LB contends that, in doing so,

 Mustang is “soliciting litigation funding matters belonging to the [j]oint [v]enture

 and directing these sources to finance their matters directly through [Mustang].”

 (Id.)

         F.   Mr. Janish Admits In Emails That LB And Mustang Never
              Entered Into A Joint Venture Agreement

         In his capacity as LB’s CEO, Mr. Janish has sent emails to the Founders

 conceding that Mustang never entered into any joint venture agreement, written or

 oral, nor agreed to form a joint venture of any sort, with LB. In a January 30, 2020,

 email from Mr. Janish to Mr. Beltz, Mr. Janish admits that LB never had “an



                                          10
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 17 of 35 PageID: 450




 understandable agreement” with Mustang, and that Mustang “never finalized” any

 agreement with LB, stating: “Since last summer Legal-Bay has tried to get an

 understandable agreement that protects all parties. Mustang never finalized that

 understanding after numerous rounds of changes with lawyers.” (Becker Decl. ¶ 3,

 Ex. 2.) In an April 15, 2020, email from Mr. Janish to Mr. Beltz, attached to LB’s

 Complaint as Exhibit H, Mr. Janish first objected to Mustang’s purported solicitation

 of LB’s contacts, but then conceded that while he is “not opposed to . . . a plan to

 generate more business together off [LB’s] law firm contacts[,] . . . a formal

 arrangement was never progressed by you,” i.e., Mustang. (ECF 1-1 at 121, Ex. I.)

                             PROCEDURAL HISTORY

       On May 16, 2022, LB filed its Complaint in the Superior Court of New Jersey,

 Essex County – Chancery Division.              LB’s seven-count Complaint against

 Defendants Mustang Funding, LLC, Mustang Specialty Funding I, LLC, Mustang

 Specialty Funding II, LLC, James Beltz, and Kevin Cavanaugh alleges putative

 claims for: (i) declaratory judgment that the Mustang Entities formed a joint venture

 with LB; (ii) dissolution and winding up of the alleged joint venture; (iii) accounting;

 (iv) breach of the purported oral joint venture agreement against the Mustang

 Entities; (v) breach of fiduciary duties against the Mustang Entities; (vi) fraudulent

 inducement against Mr. Beltz and Mr. Cavanaugh; and (vii) breach of the LOCA

 against Mustang Specialty Funding I, LLC. LB served a copy of the Summons and



                                           11
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 18 of 35 PageID: 451




 Complaint on Mustang Funding, LLC and both Founders on May 18, 2022, and

 served a copy of the Summons and Complaint on Mustang Specialty Funding I, LLC

 and Mustang Specialty Funding II, LLC on May 19, 2022. Defendant Mustang

 Funding, LLC—with the consent of all other Defendants—timely removed the state

 court action to this Court on June 15, 2022. On June 22, 2022, Defendants filed an

 agreed request for a 30-day extension of time to answer, move, or otherwise respond

 to the Complaint. On June 23, 2022, the Court granted Defendants’ agreed request

 for an extension, which extended Defendants deadline to answer, move, or otherwise

 respond to the Complaint to July 22, 2022.

                                LEGAL STANDARDS

       A.     Rule 12(b)(2)

       Federal courts in the District of New Jersey may exercise personal jurisdiction

 over nonresident defendants to the limits of due process under the Fourteenth

 Amendment. See Carteret Sav. Bank, FA v. Shushan, 954 F.2d 141, 144-45 (3d Cir.

 1992). “Once the defendant raises the question of personal jurisdiction, the plaintiff

 bears the burden to prove, by a preponderance of the evidence, facts sufficient to

 establish personal jurisdiction.” Id. at 146; see also Harfouche v. Wehbe, 950

 F. Supp. 2d 766, 769 (D.N.J. 2013) (“[The plaintiff] must present actual facts, not

 mere allegations, and cannot rely on the pleadings alone.”). To carry its burden, the

 plaintiff must show either that its claims arise out of the defendant’s activities in the



                                            12
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 19 of 35 PageID: 452




 forum state (“specific jurisdiction”) or that the defendant has “continuous and

 systematic” contacts with the forum state (“general jurisdiction”).           See, e.g.,

 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414, 416 (1984);

 Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty., 137 S.

 Ct. 1773, 1785 (2017).       Due process requires that defendants have sufficient

 minimum contacts with New Jersey such that maintaining the suit “does not offend

 traditional notions of fair play and substantial justice.” O’Connor v. Sandy Lane

 Hotel Co., 496 F.3d 312, 316 (3d Cir. 2007) (citation and quotation omitted).

       B.     Rule 12(b)(6)

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must

 “contain sufficient factual allegations so as to state a facially plausible claim for

 relief.” Mayer v. Belichick, 605 F.3d 223, 229-30 (3d Cir. 2010) (holding that

 allegations must “raise a right to relief above the speculative level”). Although the

 court must “accept plaintiff’s allegations as true and draw all inferences in plaintiff’s

 favor,” that “tenet . . . is inapplicable to legal conclusions.” George v. Rehiel, 738

 F.3d 562, 581 (3d Cir. 2013) (citation omitted). Complaints that rely on “naked

 assertions,” “labels and conclusions,” or “formulaic recitation[s] of the elements”

 must be dismissed. Id. (citation omitted).




                                            13
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 20 of 35 PageID: 453




       C.     Rule 9(b)

       Rule 9(b) requires plaintiffs to “allege[] fraud with sufficient particularity to

 place the defendant on notice of the precise misconduct with which it is charged.”

 J.H. Reid Gen. Contractor v. Conmaco/Rector, L.P., 2010 WL 398486, at *6 (D.N.J.

 Jan. 27, 2010) (quoting Frederico v. Home Depot, 507 F.3d 188, 200 (3d Cir. 2007)).

 Under this “heightened standard,” the plaintiff must state “the date, time and place

 of the alleged fraud or otherwise inject precision or some measure of substantiation

 into [its] fraud allegation.” Id. (citation omitted). It also must identify “who made

 the purported misrepresentations and what specific misrepresentations were

 made.” Id.; see also NN&R, Inc. v. One Beacon Ins. Grp., 362 F. Supp. 2d 514, 518

 (D.N.J. 2005).

                                    ARGUMENT

 I.    LB’S COMPLAINT MUST BE DISMISSED BECAUSE THE COURT LACKS
       SPECIFIC AND GENERAL JURISDICTION OVER THE DEFENDANTS

       The Court must dismiss LB’s Complaint under Rule 12(b)(2) because it has

 neither general nor specific personal jurisdiction over any of the Defendants.

       LB cannot establish general personal jurisdiction because none of the

 Defendants are “at home” in New Jersey. See, e.g., Daimler AG v. Bauman, 134 S.

 Ct. 746, 760 (2014) (“For an individual, the paradigm forum for the exercise of

 general jurisdiction is the individual’s domicile”; for “a corporation, the place of

 incorporation and principal place of business are paradigm bases for general


                                          14
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 21 of 35 PageID: 454




 jurisdiction”). LB concedes that Mr. Beltz and Mr. Cavanaugh reside in Minnesota.

 (ECF 1-1 ¶¶ 7-8.) Their purported associate’s single visit to New Jersey, which was

 on behalf of an unrelated hedge fund that Mr. Cavanaugh managed at the time and

 occurred before the alleged joint venture supposedly was formed, does not establish

 any contacts between the Founders and the forum, much less “continuous and

 systematic” ones. Furthermore, all members of the three Mustang Entities (and the

 members of the Mustang Entities’ members) are residents of Minnesota, and each of

 the three Mustang Entities has its principal place of business in Minnesota. (See

 ECF 9-6, Mayer Decl. ¶¶ 4-8.)

       As for the alleged “ninety-seven (97) funding contracts” LB and Mustang

 purportedly executed “in connection with [cases] in New Jersey state and federal

 courts,” (ECF 1-1 ¶ 11), “the Supreme Court has held that even regularly occurring

 sales to a forum state cannot subject a nonresident defendant to general jurisdiction.”

 Kenney v. Lofts at Sodo, 2019 WL 1057365, at *3 (D.N.J. Mar. 6, 2019); see also

 Brumfield v. TransUnion, Inc., 2020 WL 1083598, at *3 (E.D. La. Mar. 6, 2020)

 (holding that the nonresident lender was not subject to general jurisdiction despite

 servicing fund advances to customers within the forum state). Nor is general

 jurisdiction established by LB’s allegations that Mustang Specialty Funding I, LLC

 and Mustang Specialty Funding II, LLC are registered to do business in New Jersey.

 (ECF 1-1 ¶¶ 5-6); see Display Works, LLC v. Bartley, 182 F. Supp. 3d 166, 175



                                           15
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 22 of 35 PageID: 455




 (D.N.J. 2016) (“[T]he New Jersey statutory scheme does not permit jurisdiction by

 consent by virtue of registration to do business here or actually doing business

 here.”); Agbottah v. Orange Lake Country Club, 2012 WL 2679440, at *3 (D.N.J.

 July 6, 2012) (“[N]either a certificate to do business in New Jersey nor mere

 solicitation of business is sufficient to confer general jurisdiction.”). Accordingly,

 the Court lacks general jurisdiction over all Defendants. See Siegmeister v. Benford,

 2017 WL 2399573, at *3 (D.N.J. June 1, 2017) (no general jurisdiction where “[the

 individual Defendants] are not New Jersey residents and [the business-venture

 Defendant] is neither incorporated in New Jersey nor does it have its principal place

 of business there”); see also Chavez v. Dole Food Co., 836 F.3d 205, 223 (3d Cir.

 2016) (holding that it is “incredibly difficult to establish general jurisdiction over a

 corporation in a forum other than the place of incorporation or principal place of

 business.” (citation omitted)).

       Nor can LB establish specific jurisdiction over Defendants because it pleads

 no facts showing that its claims arise out of Defendants’ contacts with New Jersey.

 To be sure, LB nakedly asserts that Defendants “misappropriate[ed] and

 unlawful[ly] diver[ted] . . . LB’s business relationships with New Jersey attorneys

 and brokers.” (ECF 1-1 ¶ 13.) But LB fails to specifically identify a single New




                                           16
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 23 of 35 PageID: 456




 Jersey business6 or individual that Defendants allegedly “misappropriated.” See

 Donnelly v. Kole, 2010 WL 11693272, at *2 (D.N.J. July 21, 2010) (no personal

 jurisdiction where plaintiff “offer[ed] only the conclusory remark that Defendants

 have sufficient business contacts in New Jersey” (citation omitted)); McClung v. 3M

 Co., 2019 WL 4668053, at *5 (D.N.J. Sept. 25, 2019) (requiring “citations to sworn

 affidavits or other competent evidence, i.e., actual proof, that show the necessary

 minimum contacts with reasonable particularity” (citation omitted)). LB’s failure to

 connect its “misappropriation” allegations—the sole basis of its entire Complaint—

 to Defendants’ forum contacts forecloses a finding of specific jurisdiction for all of

 its claims. See Blystra v. Fiber Tech Grp., Inc., 2005 WL 2807361, at *4 (D.N.J.

 Oct. 25, 2005) (“[W]here, as here, most of the claims arise out of the same set of



 6
   LB does allege that the Mustang Entities solicited business from Baker Street
 Funding, LLC (“BSF”) and Tribeca Capital Group, LLC (“Tribeca”), and attached
 to its Complaint a contract that refers to BSF as a “New Jersey Corporation”
 (ECF 1-1 at 125, Ex. J), and a contract that refers to Tribeca as a “New Jersey limited
 liability company,” (id. at 139, Ex. L). Both of those representations appear to be
 inaccurate, though. Neither BSF nor Tribeca is registered with the New Jersey
 Department of the Treasury, Division of Revenue and Enterprise Services, (see
 Becker Decl. ¶¶ 4-5, Exs. 3-4), and both are registered with the Delaware
 Department of State as Delaware limited liability companies, (see id. ¶¶ 6-7, Exs. 5-
 6). Furthermore, BSF’s website lists only two addresses for the company—one in
 Florida and another in New York. (See id. ¶ 8, Ex. 7.) And Tribeca’s website states
 that it is “headquartered in Los Angeles, California.” (See id. ¶ 9, Ex. 8); see, e.g.,
 Quality Int’l Packaging, Ltd. v. Chamilia Inc., 2015 WL 4749156, at *2 (D.N.J. Aug.
 5, 2015) (“[O]nce [jurisdictional] allegations are contradicted by an opposing
 affidavit or other evidence, a plaintiff must “respond with actual proofs, not mere
 allegations.”).


                                           17
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 24 of 35 PageID: 457




 facts and are tightly interwoven, an individualized discussion of each claim is

 unnecessary, as the jurisdictional analysis is the same”); accord Siegmeister, 2017

 WL 2399573, at *4 (lack of personal jurisdiction for breach of contract claim

 necessarily foreclosed personal jurisdiction for fraudulent inducement claim

 premised on the same factual allegations).

       Because LB’s allegations do not support a finding of either general or specific

 jurisdiction, this Court must dismiss LB’s Complaint.

 II.   COUNTS I-VI MUST BE DISMISSED BECAUSE MR. JANISH ADMITS THAT
       MUSTANG AND LB NEVER FORMED A JOINT VENTURE NOR ENTERED
       INTO A JOINT VENTURE AGREEMENT

       The Court must dismiss LB’s first six claims because the Complaint does not

 plausibly plead that Mustang formed a joint venture or entered into any joint venture

 agreement with LB. Mr. Janish admits as much in multiple emails to the Founders,

 including his April 15, 2020, email to Mr. Beltz, (see ECF 1-1 at 121, Ex. I), and his

 January 30, 2020, email to both Founders, which, as explained below, is integral to

 the Complaint and properly attached to this Motion (see Becker Decl. ¶ 3, Ex. 2).

 LB premised its first six claims on Mustang’s purported breach of the oral joint

 venture agreement, so Mr. Janish’s admissions that Mustang never entered into any

 such agreement with LB, much less breached it, are the death knell for Counts I-VI.7


 7
   If Mr. Janish’s admissions somehow are not fatal to Counts I-VI, then LB’s breach
 of fiduciary duty claim (Count V) still must be dismissed under the economic loss
 theory as duplicative of LB’s breach of contract claim (Count IV). See State Capital

                                          18
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 25 of 35 PageID: 458




       First, LB attached to its own Complaint Mr. Janish’s April 15, 2020, email to

 Mr. Beltz in which he admits—indeed, laments—that LB and Mustang have neither

 formed a joint venture nor entered into a joint venture agreement. In the email,

 Mr. Janish first objects to the Mustang Entities sending marketing emails to LB’s

 purportedly proprietary “law firm contacts,” but never once does he mention any

 joint venture agreement between the parties (or any agreement for that matter).

 (See ECF 1-1 at 121, Ex. I.) To the contrary, Mr. Janish states that while he is “not

 opposed to . . . a plan to generate more business together off [LB’s] law firm

 contacts[,] . . . a formal arrangement was never progressed by you,” i.e., Mustang.

 (Id. (emphasis added).) Mr. Janish’s admission that Mustang never progressed

 “a formal arrangement” with LB squarely contradicts the allegations that, e.g.,

 (i) “LB and the Mustang Entities entered into a [j]oint [v]enture agreement,”

 (id. ¶ 164); (ii) that LB and Mustang “formally commence[d] the venture in

 October 2018,” (id. ¶ 41); and (iii) that “the Mustang Entities agreed to pay LB

 twenty-five (25%) percent of the [j]oint [v]enture’s net profits,”8 (id. ¶ 165). That

 admission, on its own, warrants dismissal of LB’s Complaint.



 Title & Abstract Co., 646 F. Supp. 2d 668, 678 (D.N.J. 2009) (finding that the
 economic loss doctrine barred plaintiff’s breach of fiduciary duty claim based on
 allegations intrinsic to the agreement underlying its breach of contract claim).
 8
  Not only is the allegation that Mustang agreed to pay LB 25% of the net profits
 directly contradicted by Mr. Janish’s own words, it just doesn’t make sense. If
 Mustang agreed to pay LB 25% of the joint venture’s net profits (including profits

                                          19
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 26 of 35 PageID: 459




       Second, Mr. Janish further admits in a January 30, 2020, email to both

 Founders that Mustang has never entered into a joint venture agreement nor formed

 a joint venture with LB. (See Becker Decl. ¶ 3, Ex. 2.) As an initial matter, the

 Court may—and should—consider the January 30, 2020, email exchange in deciding

 this Motion because the email exchange is integral to and relied upon in LB’s

 Complaint. See, e.g., In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426

 (3d Cir. 1997) (holding that a Court ruling on a 12(b)(6) motion may consider a

 “document integral to or explicitly relied upon in the complaint . . . without

 converting the motion [to dismiss] into one for summary judgment” (citation

 omitted)). Mr. Janish’s January 30, 2020, email to Mr. Beltz is integral to LB’s

 Complaint because LB references and even quotes the contents of the email in

 Paragraphs 97-99; those paragraphs in turn reference the contents of Mr. Janish’s




 from contracts LB did not originate/refer), then it would be illogical for LB to
 demand assurances up front that Mustang would “not enter the litigation funding
 business as a broker or originator of litigation funding matters” and “not do business
 with LB’s broker, attorney, and surgical provider relationships, whether existing
 prior to or after formation of the joint venture.” (Id. ¶ 40.) To the contrary, if LB
 were guaranteed 25% of the purported joint venture’s profits, then it should have
 been actively encouraging Mustang to bring in as much business as possible from
 any and all sources, including LB’s business relationships. In fact, LB’s alleged
 demand that Mustang not do business with LB’s “broker, attorney, and surgical
 provider relationships, whether existing prior to or after formation of the joint
 venture” would be directly at odds with its fiduciary duty to act in the best interests
 of, and not steal opportunities from, the joint venture—i.e., the same duties it claims
 Mustang breached. (Id.)


                                           20
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 27 of 35 PageID: 460




 email to allege Mustang improperly solicited and misappropriated LB’s brokers and

 diverted LB’s originations, which LB cites as the basis for all of its claims.9 (ECF

 1-1 ¶¶ 1, 12-13, 53, 80-81, 91, 95, 97, 101, 103, 112, 114, 131, 142, 147, 151, 153,

 158, 169, 172-173, 176, 182-185, 187, 195-196.)

       Mr. Janish’s January 30, 2020, email exposes LB’s allegations as a

 fabrication. After complaining about Mustang’s purported solicitation of LB’s

 broker relationship—an allegation debunked in subsequent emails—Mr. Janish

 recounts his failed efforts to negotiate some protection of his supposedly

 “proprietary” network of broker and attorney relationships and bemoans Mustang’s



 9
   Specifically, Paragraphs 97-98 allege “[Mustang] hired salespersons to cold call,
 investigate and do business with brokers” and that “Mr. Beltz tried to explain away
 [Mustang’s] wrongful conduct by saying it was a mistake and just ‘noise’ not to be
 taken seriously.” (Id. ¶¶ 97-98 (emphasis added).) Mr. Janish’s January 30, 2020
 email to Mr. Beltz clearly served as the basis for those allegations, which virtually
 plagiarize the first two sentences of his email. (See Becker Decl. ¶ 3, Ex. 2
 (“Mustang/Patrick contacting our broker relationships directly is very concerning.
 It is not ‘noise’ as Jimmy states.” (emphasis added))); see also New Jersey Second
 Amend. Soc’y v. New Jersey Press Ass’n, 2021 WL 4822050, at *5 (D.N.J. Oct. 15,
 2021) (holding that an email exchange “detail[ing] the denial of the press pass,”
 which Defendants attached to their motion to dismiss, was “integral to Plaintiffs’
 claims because the Amended Complaint repeatedly alleges that Defendants
 arbitrarily denied the Press Pass to Plaintiffs”); L-7 Designs, Inc. v. Old Navy, LLC,
 647 F.3d 419, 422 (2d Cir. 2011) (“[E]mails—of which [plaintiff] had notice well
 before [defendant] attached them to its Answer (because [plaintiff] sent or received
 them)—were ‘integral’ to the negotiation exchange that [plaintiff] identified as the
 basis for its Complaint.”). Because LB “ha[s] actual notice . . . and relied upon
 [these emails] in framing the complaint,” the Court can and should consider them in
 ruling on this Motion. Id. (quoting Watterson v. Page, 987 F.2d 1, 3–4 (1st Cir.
 1993)).


                                          21
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 28 of 35 PageID: 461




 refusal to execute any agreement with LB. (See Becker Decl. ¶ 3, Ex. 2.) He states,

 “[s]ince last summer [LB] has tried to get an understandable agreement that protects

 all parties. Mustang never finalized that understanding after numerous rounds of

 changes with lawyers.”10 (Id.) In yet another acknowledgment that Mustang and

 LB never entered a joint venture agreement, Mr. Janish suggests that Mustang’s

 supposed solicitation of LB’s broker contacts “goes against the [LOCA]”—not the

 supposedly ironclad joint venture agreement with the litany of protections Mustang

 allegedly promised back in 2018. (Id.) Mr. Janish’s admissions that LB and

 Mustang have no “understandable agreement” and that Mustang “never finalized”

 any agreement with LB, and telling failure to cite any supposed joint venture

 agreement, would make little sense if the allegations in LB’s Complaint had an

 ounce of credibility. There is, however, nothing credible nor plausible about LB’s

 allegation that it is entitled to 25% of Mustang’s profits for providing no additional

 value beyond the referrals for which it has already been paid.




 10
   Even if this email did not evidence the absence of the purported joint venture
 agreement between LB and Mustang—and it does—Mr. Janish’s admission that the
 parties never executed an “understandable agreement,” (id. (emphasis added)), at
 minimum reflects a lack of definiteness that renders the purported joint venture
 agreement unenforceable. See, e.g., Weichert Co. Realtors v. Ryan, 128 N.J. 427,
 435 (1992) (“A contract . . . must be sufficiently definite that the performance to be
 rendered by each party can be ascertained with reasonable certainty.” (citation
 omitted)).


                                          22
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 29 of 35 PageID: 462




 III.   COUNT VI ALSO MUST BE DISMISSED BECAUSE LB FAILS TO
        SUFFICIENTLY PLEAD ITS FRAUDULENT INDUCEMENT CLAIM

        LB’s fraudulent inducement claim against the Founders also fails because

 LB’s allegations do not satisfy the applicable pleading standard in two respects.

 First, LB does not plead specific details about the Founders’ purported

 misrepresentations that are necessary to satisfy Rule 9(b)’s heightened pleading

 standard. Second, LB pleads no non-conclusory allegations to show fraudulent

 intent and therefore fails to establish that element under any pleading standard.

        LB fails to plead necessary “detail as to the who, what, where, and when of

 the[] alleged [mis]representations.” Boyd v. Tribbett, 2015 WL 4199288, at *6

 (D.N.J. July 10, 2015) (citation omitted). It provides only generic and sweeping

 descriptions—not quotes—of supposed misrepresentations. (ECF 1-1 ¶¶ 181-85);

 see, e.g., Frederico, 507 F.3d at 200 (“generic references” and “broad statements”

 do not “state with particularity the circumstances of the alleged fraud or otherwise

 inject the requisite precision into her allegations”). LB also fails to specify who, as

 between Mr. Beltz and Mr. Cavanaugh, actually made each purported

 misrepresentation. (ECF 1-1 ¶¶ 181-90); see Washington v. Specialized Loan

 Servicing LLC, 2018 WL 10900585, at *5 (D.N.J. Aug. 27, 2018) (Rule 9(b) not

 satisfied where “each allegation sounding in fraud is vaguely alleged against all

 ‘Defendants’”); J.H. Reid, 2010 WL 398486, at *7 (plaintiff failed “to satisfy the

 heightened standard of Rule 9(b)” where it “d[id] not specify who made the alleged


                                           23
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 30 of 35 PageID: 463




 misrepresentation”). And it does not identify the date, time, or place of each alleged

 misrepresentation, or offer any other measure of substantiation, stating only that they

 were made “in the spring and summer of 2018.” (ECF 1-1 ¶ 181); see, e.g.,

 Frederico, 507 F.3d at 200 (“[P]laintiff must plead or allege the date, time and place

 of the alleged fraud or otherwise inject precision or some measure of substantiation

 into a fraud allegation.”); Deshpande v. Taro Pharms. U.S.A., Inc., 2010 WL

 1957869, at *4 (D.N.J. May 13, 2010) (Rule 9(b) not satisfied where plaintiff

 “fail[ed] to specify . . . the identity of the persons who made the statements or

 the time or place of any of the alleged representations”). LB’s failure to allege these

 required details renders its allegations insufficiently particular to provide the

 Founders with adequate notice of their purportedly fraudulent conduct, as required

 under Rule 9(b).

       LB also fails to plead sufficient non-conclusory facts to establish the element

 of fraudulent intent under any pleading standard. “Intention may be derived from

 circumstantial evidence such as . . . implausibility of the statement in light of

 subsequent acts and events . . . or evidence showing at the time of the promise that

 the promisor could not or would not fulfill the promise.” UBI Telecom Inc. v. KDDI

 Am., Inc., 2014 WL 2965705, at *27 (D.N.J. June 30, 2014). LB’s Complaint,

 however, lacks even circumstantial evidence of fraudulent intent, instead relying on

 a litany of clearly deficient conclusory statements, such as, “[t]he Individual



                                           24
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 31 of 35 PageID: 464




 Defendants intended that Mr. Janish and Dr. Caravella would rely on their

 misrepresentations,” (ECF 1-1 ¶ 187), and “[t]he Individual Defendants knew their

 representations about the [j]oint [v]enture were false when they made them,”

 (id. ¶ 186). The only statement in the Complaint that could even tenuously support

 LB’s contention that the Founders’ purported promises—i.e., that Mustang would

 perform its obligations under the alleged joint venture agreement—were knowingly

 false when made is LB’s allegation that Mustang ultimately did not perform those

 supposed obligations. But that allegation still falls well short of the mark—courts

 are clear that allegations of contractual non-performance do not show that prior

 promises to perform under the contract were intentionally false when made. See,

 e.g., Boyd, 2015 WL 4199288, at *6 (“Allegations of non-performance alone,

 however, are insufficient to plead a fraudulent inducement claim.”); UBI Telecom,

 2014 WL 2965705 at *27 (“Nonperformance alone is, however, not sufficient to

 show an intent not to perform the promise.”). Thus, under any pleading standard,

 LB’s allegations fail to establish that any of the purported misrepresentations—

 themselves deficiently pled—were made with fraudulent intent.

       These pleading deficiencies are fatal to LB’s fraudulent inducement claim.

 The Court therefore should dismiss Count VI of LB’s Complaint.




                                         25
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 32 of 35 PageID: 465




 IV.   MUSTANG HAS NOT BREACHED THE LOCA AS A MATTER OF LAW

       LB’s seventh claim for breach of the LOCA’s non-solicitation provision fails

 as a matter of law because that provision plainly was not applicable and, thus, could

 not be breached when the allegedly proscribed conduct occurred.

       Solicitation is barred by the LOCA’s non-solicitation provision only upon

 termination of the LOCA. (See ECF 1-1 at 51, Ex. A § 4 (explaining that the non-

 solicitation provision is effective “[f]or a period of one (1) year following the

 termination of this Agreement for any reason[.]”).) LB even admits that point in its

 Complaint, stating “[t]he LOCA provides that upon its termination, in part,

 Defendants shall not solicit . . . individuals or business associations with whom

 Plaintiff had an existing relationship as of the Effective Date of the Agreement[.]”

 (Id. ¶ 195 (emphasis added).)

       The LOCA can be terminated only upon either (i) LB repaying the total

 amount it borrowed (which it has not), or (ii) “sixty (60) days written notice” of

 termination by any party to the agreement. (Id. at 52, Ex. A § 6.) LB provided the

 Mustang Entities with 60-days’ notice of its purported termination of the LOCA via

 email sent by Mr. Janish on May 18, 2022. (See Becker Decl. ¶ 2, Ex. 1.) In that

 email, Mr. Janish directly contradicts LB’s allegation that it “terminated the LOCA

 on May 17, 2022,” (ECF 1-1 ¶ 195), stating, “LB notifies LBV Funding, LLC and

 Mustang Specialty Funding I, LLC that LB shall terminate the Agreement Sixty (60)



                                          26
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 33 of 35 PageID: 466




 days after the date that this notice is sent to each of you by email.” (See Becker

 Decl. ¶ 2, Ex. 1.)     Accordingly, even if LB’s 60-days’ notice of purported

 termination is valid, that would make the non-solicitation provision effective only

 as of July 17, 2022—i.e., five days ago. Because all of the alleged conduct

 underlying LB’s claim for breach of the LOCA’s non-solicitation provision occurred

 months and years before that provision even became applicable, the alleged conduct

 cannot constitute breach of contract as a matter of law. Therefore, Count VII of

 LB’s Complaint must be dismissed.

                                  CONCLUSION

       For the foregoing reasons, the Court should dismiss LB’s Complaint in its

 entirety with prejudice.


 Dated: New York, New York
        July 22, 2022

                                              KASOWITZ BENSON TORRES LLP

                                              By: /s/ Christian T. Becker
                                                 Christian T. Becker
                                                 Sheron Korpus (pro hac vice
                                                 forthcoming)
                                                 Edward E. Filusch (pro hac vice
                                                 forthcoming)
                                                 David Tyler Adams (pro hac vice
                                                 forthcoming)
                                              1633 Broadway
                                              New York, New York 10019
                                              Tel.: (212) 506-1700
                                              Fax: (212) 506-1800


                                         27
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 34 of 35 PageID: 467




                                           Email: cbecker@kasowitz.com
                                                  skorpus@kasowitz.com
                                                  efilusch@kasowitz.com
                                                  dadams@kasowitz.com

                                           Attorneys for Defendants




                                      28
Case 2:22-cv-03941-ES-JBC Document 19-1 Filed 07/22/22 Page 35 of 35 PageID: 468




                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was

 served on July 22, 2022, on all counsel of record via CM/ECF, pursuant to the

 Federal Rules of Civil Procedure.



                                           /s/ Christian T. Becker
                                           Christian T. Becker




                                         29
